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                            UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MASSACHUSETTS

___________________________________
                                    )
                                    )
UNITED STATES OF AMERICA            )
                                    )
v.                                  )                                 No. 20-CR-10271
                                    )
DAVID DEQUATTRO,                    )
            Defendant               )
                                    )
___________________________________ )

             ASSENTED-TO MOTION FOR LEAVE TO FILE UNDER SEAL

       Now comes the defendant David DeQuattro, by and through undersigned counsel, and

hereby respectfully requests leave to file his Motion In Limine to Preclude Use of Joseph

Beretta’s Grand Jury Testimony at Trial under seal. As grounds and reasons therefor, the

defense states that the underlying motion refers to grand jury testimony and attaches as an

exhibit a grand jury transcript. Additionally, any potential publicity resulting from the Motion

could burden future jury selection which is now just weeks away. Mr. DeQuattro intends to send

a copy of his Motion to the Court for filing under seal in the event leave to file is granted.

                        COMPLIANCE WITH LOCAL RULE 7.1(a)(2)

       Undersigned counsel has conferred with the government, and the government assents to

this request for leave to file under seal. The government, however, opposes the underlying relief

requested in Mr. DeQuattro’s Motion.


                                                       Respectfully Submitted,
                                                       DAVID DEQUATTRO
                                                       By His Attorney,


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                                                     /s/ Martin G. Weinberg
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Dated: July 28, 2021




                                CERTIFICATE OF SERVICE

        I, Martin G. Weinberg, hereby certify that on this date, July 28, 2021, a copy of the
foregoing document has been served via Electronic Court Filing system on all registered
participants.
                                                     /s/ Martin G. Weinberg
                                                     Martin G. Weinberg, Esq.




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